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 1 HEATHER E. WILLIAMS, Bar #122664
   Federal Defender
 2 KARA R. OTTERVANGER, CA Bar #354424
   Assistant Federal Defender
 3 Office of the Federal Defender
   2300 Tulare Street, Suite 330
 4 Fresno, California 93721-2226
   Telephone: (559) 487-5561
 5 Kara_Ottervanger@fd.org
 6 Counsel for Defendant
   SAMUEL JOSEPH GUEYDAN III
 7
 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10
11
     UNITED STATES OF AMERICA,                         CASE NO. 1:12-CR-402-JLT
12
                                 Plaintiff,
13                                                     STIPULATION AND ORDER REGARDING
                           v.                          CONTINUANCE
14
     SAMUEL JOSEPH GUEYDAN III,                        DATE: January 17, 2025
15                                                     TIME: 2:00 p.m.
                                 Defendant.            COURT: Hon. Sheila K. Oberto
16
17          Defendant Samuel J. Gueydan, III, by and through counsel of record, Assistant Federal Defender

18 Kara R. Ottervanger, and Plaintiff United States of America, by and through its counsel of record, Arelis
19 Clemente, hereby stipulate as follows:
20          This case is set for status conference on January 17, 2025. Defendant now moves to continue the

21 status conference until February 12, 2025. No exclusion of time is necessary as this matter concerns a
22 supervision violation petition. The parties agree that, because there may be additional discovery
23 forthcoming from U.S. Probation, and because the parties have not had an opportunity to discuss a
24 potential resolution with U.S. Probation Officer Chhoeuth Bou due to holiday leave, more time is needed
25 to do so. Officer Bou does not object to this continuance.
26          IT IS SO STIPULATED.
27
28



      STIPULATION TO CONTINUE STATUS                   1
      CONFERENCE
           Case 1:12-cr-00402-JLT-BAM Document 52 Filed 01/14/25 Page 2 of 2

 1   Dated: January 13, 2025                             PHILLIP A. TALBERT
                                                         United States Attorney
 2
 3                                                       /s/ Arelis Clemente
                                                         Arelis Clemente
 4                                                       Assistant United States Attorney

 5
                                                         HEATHER E. WILLIAMS
 6                                                       Federal Defender

 7   Dated: January 13, 2025                             /s/ Kara R. Ottervanger
                                                         Kara R. Ottervanger
 8                                                       Counsel for Defendant
                                                         SAMUEL J. GUEYDAN III
 9
10
                                                  ORDER
11
12         IT IS SO ORDERED that the status conference currently scheduled for January 17, 2025, is

13 continued to January 31, 2025, at 2:00 p.m. before the Honorable Judge Barbara A. McAuliffe.
14
15         IT IS SO ORDERED

16         Dated: January 14, 2025

17                                                                   Type text here
                                                   THE HONORABLE SHEILA K. OBERTO
18                                                 UNITED STATES MAGISTRATE JUDGE
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      STIPULATION TO CONTINUE STATUS                 2
      CONFERENCE
